






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00104-CR





Richard Wayne Rains, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF LLANO COUNTY, 424TH JUDICIAL DISTRICT

NO. CR 5920, HONORABLE DANIEL H. MILLS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	A jury convicted Richard Wayne Rains of manufacturing methamphetamine,
enhanced by a prior conviction, and sentenced him to sixty-five years' imprisonment.  Appellant's
appointed attorney has filed a brief concluding that the appeal is frivolous and without merit.  

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738 (1967),
by presenting a professional evaluation of the record and demonstrating that there are no
arguable&nbsp;grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969). 
Appellant's attorney sent appellant a copy of the brief and advised him that he had the right to
examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d 553, 553 (Tex. Crim. App. 1972).  Appellant has filed a pro se brief asserting
several&nbsp;issues.

	We have considered the record, counsel's brief, and appellant's pro se brief and we
agree with counsel that the appeal is frivolous and without merit.  See Bledsoe v. State, 178 S.W.3d
824, 826-27 (Tex. Crim. App. 2005). (1)  We have reviewed the evidence presented to the jury and the
procedures that were observed and find nothing in the record that might arguably support the appeal. 
We grant counsel's motion to withdraw and affirm the judgment of conviction. (2) 


					___________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   April 1, 2009

Do Not Publish
1.   The court of criminal appeals in Bledsoe v. State held:


	When faced with an Anders brief and if a later pro se brief is filed, the court of appeals has
two choices.  It may determine that the appeal is wholly frivolous and issue an opinion
explaining that it has reviewed the record and finds no reversible error.  Or, it may determine
that arguable grounds for appeal exist and remand the cause to the trial court so that new
counsel may be appointed to brief the issues.  Only after the issues have been briefed by new
counsel may the court of appeals address the merits of the issues raised.   


178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005) (citations omitted).
2.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


